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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-CV-81294-AMC

   DONALD J. TRUMP,

          Plaintiff,

          v.

   UNITED STATES OF AMERICA,

          Defendant.

   ______________________________/

                                MOTION TO UNSEAL AFFIDAVIT

          Plaintiff President Donald J. Trump, through undersigned counsel, respectfully moves this

   Court for an order requiring the Government to provide him and his counsel with an unredacted

   version of the August 5, 2022, search warrant affidavit. In support of this motion, Plaintiff states

   as follows:

                                           BACKGROUND

          In late 2021 and early 2022, Plaintiff’s counsel communicated with representatives of the

   National Archives and Records Administration (“NARA”) regarding the return of certain materials

   located at Mar-a-Lago in Palm Beach, Florida. (ECF 1 at 4–5).1 In January 2022, Plaintiff

   voluntarily provided 15 boxes of materials to NARA. Subsequently, a grand jury subpoena was

   issued for additional documents in the custody or control of the Office of President Donald J.

   Trump. In response, Plaintiff provided additional documents. Despite the open communication

   between counsel for Plaintiff and counsel for the Government, on August 5, 2022, the Government



   1
     ECF references are to the docket in this matter, Case No. 22-CV-81294-AMC, except where
   otherwise noted.


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   took the unprecedented step of seeking a search warrant for Mar-a-Lago. (ECF 1 at 6). The search

   warrant was unusually and impermissibly broad. It enabled the Government to search Plaintiff’s

   office, and “all storage rooms, and all other rooms or areas within the premises used or available

   to be used by [President Trump] and his staff and in which boxes could be stored, including all

   structures or buildings on the estate.” See United States v. Sealed Search Warrant, No. 9:22-mj-

   08332 (S.D. Fla.) (hereinafter “In re Sealed Search Warrant”), ECF 17 at 3 (emphasis added). The

   search warrant was also incredibly expansive as to the materials that could be seized. It

   inappropriately permitted the seizure of not only allegedly responsive documents, but also

   additional documents in the same box as a potentially responsive document, and even “any other

   containers/boxes that are collectively stored or found together with the aforementioned documents

   and containers/boxes.” Id. at 4 (emphasis added). Essentially, the search warrant wrongfully

   permitted the seizure of any document found at Mar-a-Lago.

          Government agents acted with abandon in seizing Plaintiff’s property.2 They seized

   attorney-client privileged documents, passports, items of clothing, personal photographs, books,

   and private correspondence between Plaintiff and his friends and family. At the start of the search,

   counsel for President Trump requested a copy of the search warrant and supporting affidavit. The

   Government declined this request. Following their nine-hour search, the Government did provide

   a copy of the search warrant and return, but again refused to provide the affidavit.

          On August 11, 2022, the Government moved to unseal the search warrant, a few related

   documents, and a redacted copy of the Receipt for Property. See In re Sealed Search Warrant,



   2
     In a bizarre move, at the start of the search, the Government asked counsel for Plaintiff to turn
   off the security cameras at Mar-a-Lago, implausibly citing “agent safety” despite the presence of
   numerous U.S. Secret Service agents, and the presence of only a handful of other individuals on
   the property, which had been vacated for the summer. This request was denied. Plaintiff’s counsel
   also asked to observe the search. The Government denied that request.


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   ECF 18.3 The same day, U.S. Attorney General Merrick Garland held a press conference to

   publicize the Government’s motion in an effort to redirect the public outcry that followed the raid.

   In the press conference, the Attorney General stated – in violation of long-standing DOJ policy –

   that the identified documents would be made public, unless Plaintiff filed an objection.4

            On August 22, 2022, a magistrate judge ordered the unsealing of a heavily redacted search

   warrant affidavit. Id., ECF 80, ECF 94. In the public version, released on August 25, 2022, 50 of

   the affidavit’s 84 total paragraphs are blacked out; of the 55 paragraphs following the header

   “Probable Cause,” only four are fully unredacted. Id., ECF 102-1 at 7–29. The redactions even

   extend to section headers. Id. at 9, 18, 23. There is no legitimate basis to withhold the redacted

   information from Plaintiff.

            The Government alleged that redactions were needed to protect: (1) witnesses from

   intimidation or retaliation; (2) investigative avenues and techniques; (3) grand jury secrecy; (4) the

   safety of law enforcement personnel; and (5) the privacy interests of third parties. Id., ECF 80 at

   9–10. In an attachment explaining its redactions, id., ECF 102-3, the Government refused to

   publicly and specifically explain the basis for redactions. None of the purported justifications apply

   in the context of disclosure of the unredacted search warrant affidavit to Plaintiff under the

   protective order.

            On August 30, 2022, the Government filed with the Court what purported to be a “detailed”

   property inventory. (ECF 39-1). However, the supposedly “detailed” inventory provided little in

   the way of actual information or detail. Instead, the “detailed” inventory incorrectly labeled nearly




   3
       That motion was granted on August 12, 2022. In re Sealed Search Warrant, ECF 41.
   4
    See U.S. Dep’t of Just., Justice Manual § 1-7.400 (“DOJ generally will not confirm the existence
   of or otherwise comment about ongoing investigations.”).


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   every document seized as a “US Government Document.” On September 26, 2022, the

   Government provided a certification of inventory accuracy to the Special Master. (ECF 116-1). It

   also provided the Special Master and Plaintiff with its third version of the inventory in this matter,

   which had substantial changes from the previous inventory.5

                                              ARGUMENT

          Plaintiff should be provided with the basic information that would assist this Court in

   deciding a motion pursuant to Federal Rule of Criminal Procedure 41(g). To begin this process,

   Plaintiff sought a more detailed property inventory, and an opportunity to review the materials

   seized from his home. At this juncture, it is also important to review the search warrant affidavit.

   Under all applicable law and precedent, the affiant was required to not make any material

   omissions and/or material misstatements in seeking the magistrate’s authorization—including, but

   not limited to, factual or legal errors relating to the history of cooperation by Plaintiff and his

   counsel. In addition, the affiant should have fully disclosed and discussed the total authority of a

   President to declassify materials and determine that materials are personal records under the

   Presidential Records Act, as well as the fact that presidents are accorded great deference when

   they have designated materials as either a Presidential record or a personal record. See Judicial

   Watch, Inc. v. Nat’l Archives & Recs. Admin., 845 F. Supp. 2d 288 (D.D.C. 2012) (involving taped

   recordings in the possession of President William J. Clinton). Plaintiff should be provided with an

   unredacted copy of the search warrant affidavit so that these matters can be determined by the

   Court. This is especially true given the extraordinary circumstances here, which involve a marked

   departure from the way other presidents have been treated.



   5
     It listed 53 new documents, clippings, or photographs that had not previously been on the
   inventory list. In addition, a previous entry for “2 empty folders with ‘CLASSIFIED’ Banners”
   disappeared entirely from the third inventory.


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       I.      Plaintiff Should Obtain An Unredacted Affidavit Pursuant To The Fourth
               Amendment.

            The affidavit is a judicial record, and as such there are several grounds for its disclosure.

   “The common law, the First Amendment, and, as recognized by some courts, the Fourth

   Amendment may all afford the public a right of access to court proceedings and judicial records.”

   Bennett v. United States, No. 12-61499-CIV, 2013 WL 3821625, at *2 (S.D. Fla. July 23, 2013).6

   As the Government noted in the litigation involving a media request for the search warrant,

   affidavit, and related documents, the general public has a “qualified right of access” to judicial

   records. In re Sealed Search Warrant, ECF 59 at 3 (citing Romero v. Drummond Co., Inc., 480

   F.3d 1234, 1245 (11th Cir. 2007)). Courts in this and other judicial districts have recognized that

   an individual who has been subjected to a search has an even greater right to judicial records than

   the general public.

            Specifically, “the Fourth Amendment may grant a right of access to pre-indictment warrant

   affidavits.” Patel v. United States, No. 9:19-mc-81181, 2019 WL 4251269, at *4 (S.D. Fla. Sept.

   9, 2019); see also Bennett, 2013 WL 3821625, at *5 (“Although the Eleventh Circuit has not

   considered whether such a right exists, decisions from federal courts in other circuits recognize

   that, rooted in the Fourth Amendment, targets of a search warrant have a pre-indictment right of

   access to search-warrant materials.”); In re Search of Up North Plastics, Inc., 940 F. Supp. 229,

   232 (D. Minn. 1996) (“[A] person whose property has been seized pursuant to a search warrant



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     Plaintiff asserts his right to access under the common law, as the Supreme Court and the Eleventh
   Circuit have held that there is a “presumptive common law right to inspect and copy judicial
   records.” See United States v. Rosenthal, 763 F.2d 1291, 1293 (11th Cir. 1985) (citing Nixon v.
   Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978)). Similarly, Plaintiff asserts a First Amendment
   basis for right of access as well, as there is a “qualified First Amendment right of access to criminal
   trial proceedings.” United States v. Ochoa-Vasquez, 428 F.3d 1015, 1028 (11th Cir. 2005) (citing
   Globe Newspaper Co. v. Superior Ct. for Norfolk Cnty., 457 U.S. 596, 603 (1982); Chicago Trib.
   Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1310 (11th Cir. 2001)).


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   has a right under the warrant clause of the Fourth Amendment to inspect a copy the affidavit upon

   which the warrant was issued.”); In re Search Warrants Issued on April 26, 2004, 353 F. Supp. 2d

   584, 591 (D. Md. 2004) (recognizing a “Fourth Amendment right to inspect the probable cause

   affidavit”); In re Search Warrants Issued August 29, 1994, 889 F. Supp. 296, 298 (S.D. Ohio 1995)

   (“[T]he Fourth Amendment right to be free of unreasonable searches and seizures includes the

   right to examine the affidavit that supports a warrant after the search has been conducted and a

   return has been filed with the Clerk of the Court pursuant to Fed. R. Crim. P. 41.” (emphasis

   added)).

          Plaintiff cannot vindicate his Constitutional rights unless he is permitted to review the

   search warrant affidavit. As the U.S. District Court for the District of Minnesota has held, the

   “Fourth Amendment requirement of probable cause is meaningless” without some way for an

   individual subjected to a search to challenge the lawfulness of that search. In re Search of Up North

   Plastics, Inc., 940 F. Supp. at 232–33. The same is true of Rule 41(g). This procedural rule would

   be meaningless if an aggrieved individual is not allowed to review the affidavit:

          If such a motion is made the Rule provides that the court shall receive evidence on
          any issue of fact necessary to decide the motion. In such cases, the court’s decision
          will almost always depend on whether the affidavit submitted in support of the
          warrant application established probable cause[.]

   In re Search of Up North Plastics, Inc., 940 F. Supp. at 233.

          The exceptional circumstances here—including a virtually limitless search of a President’s

   home, the seizure of huge amounts of personal materials including attorney-client privileged

   documents, and an Attorney General’s publication of the Government’s position in an

   unprecedented press conference—require the disclosure of the affidavit. The idea that the

   Government must keep the details of the affidavit from Plaintiff is further undermined by the

   repeated leaks by DOJ of selected and misleading information. In assessing the risk of irreparable



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   injury to Plaintiff’s reputation, this Court noted that “Government’s counsel . . . candidly

   acknowledged the unfortunate existence of leaks to the press.” (ECF 4 at 10). The Government’s

   conduct alone justifies the release of the affidavit to Plaintiff.

             Moreover, Plaintiff’s counsel has reviewed most of the seized materials over the last

   several weeks. The fact the Government took a huge volume of personal and family photographs,

   newspapers, thank-you notes, campaign materials, books, and golf shirts demonstrates that this

   search and seizure was nothing more than a general ransacking.7 This raises serious questions

   about how the affiant characterized his or her assertion of probable cause and the justification for

   seizing thousands of personal and private items. Plaintiff must have an opportunity to review the

   affidavit and determine whether the Fourth Amendment was respected, intentionally subverted, or

   recklessly violated by a DOJ bent on getting its nose under the Mar-a-Lago tent.

       II.      No Compelling Interest Justifies Withholding The Affidavit From Plaintiff.

             The Government has the burden of establishing that a judicial record should be kept sealed.

   See, e.g., Romero, 480 F.3d at 1246; Patel, 2019 WL 4251269, at *4. Here, the Government cannot

   show any compelling interest in keeping portions of the affidavit redacted. Plaintiff recognizes a

   general interest in limiting the public disclosure of facts that might interfere with an investigation.

   See, e.g., United States v. Valenti, 987 F.2d 708, 714 (11th Cir. 1993); Bennett, 2013 WL 3821625,

   at *4; Patel, 2019 WL 4251269, at *4. However, general concerns regarding secrecy are




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     A general rummaging through the belongings of President Trump is a particularly ominous
   moment in law enforcement history. With DOJ and some state officials engaging in various efforts
   to investigate President Trump, the search smacks of pretextual conduct with hopes of feeding
   personal documents to prosecutors or agents who might find use for them in unrelated pursuits.
   Authorization to seize “any other containers/boxes that are collectively stored or found together
   with the aforementioned documents and containers/boxes” is an invitation to “rummage,” which
   every court has recognized as barred under the Fourth Amendment. See Andresen v. Maryland,
   427 U.S. 463, 480 (1976) (quoting Coolidge v. New Hampshire, 403 U.S. 443, 467 (1971)).


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   insufficient for the Government to meet its burden given the circumstances here – where the

   Attorney General held a press conference about the investigation and where the Government has

   engaged in a continuous pattern of leaks. This Court should reject any conclusory assertions of a

   need for secrecy given the facts here. Rather, this case requires a “case-by-case balancing of the

   individual’s interest in disclosure against the Government’s need for continued secrecy.” In re

   Sealed Search Warrant, No. 21-MJ-8207, 2021 WL 9527724, at *3 (S.D. Fla. July 14, 2021)

   (discussing the right of access under Bennett and Patel); see also In re Search of 14416 Coral

   Gables Way, North Potomac, Md., 946 F. Supp. 2d 414, 421 (D. Md. 2011) (requiring the

   Government to assert more than a “general concern” regarding an ongoing investigation); In re

   The Baltimore Sun Co., 886 F.2d 60, 66 (4th Cir. 1989) (determining that “conclusory assertions

   are insufficient” and “specificity is required”).

          None of the compelling factors that would warrant keeping the affidavit from Plaintiff are

   present here. The entire matter has played out in the media, overwhelmingly because of the

   Government’s leaks. There is no concern regarding disclosure of the scope and direction of the

   investigation; nor is there any prospect of witness intimidation. See Bennett, 2013 WL 3821625,

   at *4. There is no concern that providing Plaintiff with the affidavit would reveal the investigation

   to subjects who are currently unaware of the investigation. Nor is there any credible evidence

   whatsoever to suggest that, if the affidavit was made available to Plaintiff, materials or information

   would no longer be available to the Government. In fact, the search warrant came seven months

   after the Plaintiff voluntarily sent 15 boxes of materials to NARA.

          Courts have also cited various potential interests related to witnesses whose testimony

   appears directly or indirectly in the search warrant affidavit. But a limited disclosure of the

   affidavit to the Plaintiff would trigger no such concerns. And it would be farcical to cite in this




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   instance any interest in protecting the physical safety of witnesses, as prior courts have sometimes

   done; making the search warrant affidavit available to President Trump himself would not raise

   any such concerns.

             The same is true with respect to the Government’s asserted interest in preserving the

   secrecy of certain “investigative techniques,” which the Government characterizes as critical to

   future investigations. Even accepting that the Government can keep judicial records from the

   public merely because they describe an “investigative technique,” that interest cannot be so

   compelling that it outstrips the Constitutional rights of any individual. Here, granting Plaintiff

   access to the search warrant affidavit would have little impact on the Government’s future

   investigations; as the Plaintiff is already aware of DOJ’s investigative techniques, his knowledge

   of additional mechanisms would not be relevant to the numerous future cases not involving him.

   The fact that the Government uses informants, reviews videotapes, issues grand jury subpoenas,

   or works closely with NARA officials is hardly a surprise to even the most casual observer of

   DOJ’s investigative techniques in this matter. Again, under all the circumstances of this

   investigation, the Government should not receive undue deference in asserting its many claims to

   justify opaqueness.

      III.      The Protective Order Serves The Purpose Of Protecting Any Government
                Interest.

             Even if the Government could meet its burden of demonstrating a sufficiently compelling

   interest to justify not disclosing the unredacted affidavit to Plaintiff as a general matter, the

   existence of a protective order in this matter already provides a less onerous alternative to sealing.

   See Romero, 480 F.3d at 1246 (requiring courts to consider “the availability of a less onerous

   alternative to sealing” in relation to the common-law right of access); Patel, 2019 WL 4251269,

   at *4 (requiring assessment of whether a “compelling government interest . . . cannot be



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    accommodated by some means less restrictive than sealing”); In re Sealed Search Warrant, ECF

    80 at 5 (noting that the rights of access under the common law and the First Amendment both

    require the courts to assess “whether there is a less onerous (or, said differently, a more narrowly

    tailored) alternative to sealing”). In this case, other alternatives would preserve any interest the

    Government demonstrates with respect to its investigation.

           The protective order in effect in this matter would greatly restrict access of the affidavit.

    As discussed in Sec. II, supra, to the extent the Court continues to view disclosure of the affidavit

    as raising concerns related to an ongoing investigation, the protective order would substantially

    mitigate those concerns, as the public would not gain access to witness information, security-

    related details, or specifications of any Government investigative techniques.

                                             CONCLUSION

           For the reasons set forth above, Plaintiff respectfully requests, in the interests of justice,

    that the Court order the Government to provide Plaintiff with an unredacted version of the August

    5, 2022, search warrant affidavit.


    Dated: November 22, 2022                              Respectfully submitted,


                                                          /s/ Lindsey Halligan
                                                          Lindsey Halligan
                                                          Florida Bar No. 109481
                                                          511 SE 5th Avenue
                                                          Fort Lauderdale, FL 33301
                                                          Email: lindseyhalligan@outlook.com

                                                          James M. Trusty
                                                          Ifrah Law PLLC
                                                          1717 Pennsylvania Avenue NW, Suite 650
                                                          Washington, D.C. 20006
                                                          Telephone: (202) 524-4176
                                                          Email: jtrusty@ifrahlaw.com




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                                             M. Evan Corcoran
                                             SILVERMAN | THOMPSON |
                                             SLUTKIN | WHITE, LLC
                                             400 East Pratt Street, Suite 900
                                             Baltimore, MD 21202
                                             Telephone: (410) 385-2225
                                             Email: ecorcoran@silvermanthompson.com

                                             Counsel for Plaintiff Donald J. Trump




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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 22, 2022, I electronically filed the foregoing

    document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

    is being served this day on all counsel of record via transmission of Notices of Electronic Filing

    generated by CM/ECF.

                                                        /s/ Lindsey Halligan
                                                        Lindsey Halligan




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